                                                                                  Case 3:07-cv-05944-JST Document 1505 Filed 12/27/12 Page 1 of 2




                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                                  IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                          8       ANTITRUST LITIGATION                     )
                                                                                                                           )   Case No. 07-5944-SC
                                                                          9                                                )
                                                                                                                           )   ORDER APPROVING
                                                                         10       This Order Relates To:                   )   STIPULATIONS RE: LEAVE TO
United States District Court
                               For the Northern District of California




                                                                                                                           )   AMEND COMPLAINT TO ADD
                                                                         11         INDIRECT PURCHASER PLAINTIFF           )   CERTAIN DEFENDANTS
                                                                                    ACTIONS                                )
                                                                         12                                                )
                                                                                                                           )
                                                                         13
                                                                         14          On August 22, 2012, the Indirect Purchaser Plaintiffs ("IPP")
                                                                         15   moved for leave to file a Fourth Amended Complaint to add three
                                                                         16   groups of new Defendants, a group of "Thomson" companies, a group
                                                                         17   of "Mitsubishi" companies, and a company called Videocon.1             ECF No.
                                                                         18   1325 ("Mot.").      On October 30, 2012, after briefing and hearing
                                                                         19   before the Special Master, the IPPs reached a stipulation with
                                                                         20   Thomson and Videocon to add them as non-party conspirators rather
                                                                         21   than defendants.       ECF No. 1423 ("Oct. 30, 2012 Stip.").          The
                                                                         22   Special Master signed the Stipulation -- and in so doing
                                                                         23   effectively recommended approval of the Stipulation by the Court --
                                                                         24   on November 1, 2012.       ECF No. 1428.
                                                                         25   1
                                                                                Specifically, the IPPs sought leave to amend to add as
                                                                         26   Defendants: (1) Thomson SA (n/k/a Technicolor SA) and Thomson
                                                                              Consumer Electronics, Inc. (n/k/a Technicolor USA, Inc.) (together,
                                                                         27   "Thomson"); (2) Mitsubishi Electric Corp., Mitsubishi Digital
                                                                              Electronics America, Inc., and Mitsubishi Electric & Electronics,
                                                                         28   USA, Inc. (together, "Mitsubishi"); and (3) Videocon Industries,
                                                                              Ltd. ("Videocon").
                                                                               Case 3:07-cv-05944-JST Document 1505 Filed 12/27/12 Page 2 of 2




                                                                          1        The October 30, 2012 Stipulation left unresolved the matter of
                                                                          2   whether to give the IPPs leave to amend their complaint to add
                                                                          3   Mitsubishi as a defendant.     On November 19, 2012, the Special
                                                                          4   Master issued an Amended Report and Recommendation recommending
                                                                          5   that the Court give such leave.      ECF No. 1453 ("Am. R&R").
                                                                          6   However, on December 18, 2012, the IPPs and Mitsubishi filed a
                                                                          7   stipulation to add Mitsubishi as a non-party co-conspirator rather
                                                                          8   than as a defendant.    ECF No. 1496 ("Dec. 18, 2012 Stip.").       The
                                                                          9   Special Master signed this Stipulation on December 18, 2012.         ECF
                                                                         10   No. 1497.
                               For the Northern District of California
United States District Court




                                                                         11        The undersigned hereby APPROVES both the October 30, 2012
                                                                         12   Stipulation and the December 18, 2012 Stipulation.          The IPPs have
                                                                         13   leave to file a Fourth Amended Complaint consistent with the
                                                                         14   stipulated terms.
                                                                         15        Accordingly, the IPPs' motion for leave to file an amended
                                                                         16   complaint is DENIED AS MOOT.
                                                                         17        This Order terminates ECF Nos. 1325, 1423, and 1496.
                                                                         18
                                                                         19        IT IS SO ORDERED.
                                                                         20
                                                                         21        Dated:   December 27, 2012
                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28



                                                                                                                   2
